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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                 CASE NO. 3:02cr5LAC

ALBERT B. PERRIN, JR.

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on January 4, 2007
Motion/Pleadings: MOTION FOR CLARIFICATION
Filed byDEFENDANT PRO SE                  on 1/4/2007     Doc.# 183
RESPONSES:
                                          on              Doc.#
                                          on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                            ORDER
Upon   consideration      of   the    foregoing,      it    is    ORDERED    this   9 th   day   of
January, 2007, that:
(a) The relief requested is GRANTED.
(b) No Rule 35 motion has been filed by the government.                The law is well settled
that the government has the discretion and the power, but not a duty, to file
such a motion when a defendant has substantially assisted.                    United States v.
Wade, 504 U.S. 181, 185 (1992).



                                                                 s/L.A. Collier
                                                            LACEY A. COLLIER
                                                  Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
